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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORN
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UNITED STATES OF AMERICA,                   CASE NO.   l2CR5l23~JM


                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
EBER PELAYO-CAZARES,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

-L   the Court has granted the motion of the Government ,for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

-L   of the offense(s) as charged in the Information:

     21 USC 952 AND 960 - IMPORTATION OF COCAINE AND METHAMPHETAMINE;

     18 USC 2 - AIDING AND ABETTING

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 1/15/13
                                            William McCurine, Jr.
                                            U.S. Magistrate Judge
